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 6
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 8
 9
10                       UNITED STATES DISTRICT COURT
11                    SOUTHERN DISTRICT OF CALIFORNIA
12
13   HELIX ENVIRONMENTAL                       Case No. 18-cv-02000-AJB-NLS
     PLANNING, INC., a California
14
     corporation,                              MEMORANDUM OF POINTS
15                                             AND AUTHORITIES IN SUPPORT
                 Plaintiff,                    OF DEFENDANT HELIX
16
                                               ENVIRONMENTAL AND
17         v.                                  STRATEGIC SOLUTIONS’
                                               MOTION TO SET ASIDE
18
     HELIX ENVIRONMENTAL AND                   DEFAULT PURSUANT TO FED.
19   STRATEGIC SOLUTIONS, a California         R. CIV. P. 55(c)
     corporation,
20
                                               Date:      May 30, 2019
21               Defendant.                    Time:      2:00 p.m.
22                                             Courtroom: 4A

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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2          Pursuant to Rule 55(c) of the Federal Rules of Civil Procedure, Defendant
 3   Helix Environmental and Strategic Solutions (“Defendant”) moves for relief from
 4   the entry of default entered against it in this action. (See Dkt. No. 6.) Defendant
 5   seeks relief on the grounds that the default was entered as a result of misconduct by
 6   counsel for Plaintiff Helix Environmental Planning, Inc. (“Plaintiff”) and/or
 7   excusable neglect, and the equities weigh in favor of setting aside the default. As set
 8   forth in its proposed Answer (see Declaration of Chris Arledge (“Arledge Decl.”)
 9   Ex. 1), Defendant has meritorious defenses to all the claims asserted in the
10   Complaint. Further, granting the relief requested will not prejudice Plaintiff and will
11   allow for resolution of this dispute on the merits.
12   I.     STATEMENT OF FACTS
13          On August 27, 2018, Plaintiff filed the Complaint. Almost immediately
14   thereafter, on August 31, 2018, Defendant’s counsel Chris Arledge contacted
15   Plaintiff’s counsel Gary Eastman by phone and email to discuss the case. (Arledge
16   Decl. Ex. 2, at 8.) Though Mr. Arledge generally responded to Mr. Eastman’s
17   messages within hours, due to Mr. Eastman’s delays, counsel had their first
18   telephonic conference on September 12, 2018, during which they discussed
19   settlement. (Id., at 6.)
20          On October 19, 2018—more than a month later—Plaintiff responded with a
21   settlement proposal and requested a waiver of service pursuant to Rule 4(d). (Id., at
22   5.) Mr. Eastman specifically represented that the waiver would allow the parties to
23   negotiate settlement further and hold in abeyance Defendant’s duty to answer the
24   Complaint: “[M]y date of Service for the Complaint is coming up; are you willing to
25   accept service of the Complaint pursuant to a Rule 4 Waiver, thus allowing 60 days
26   to further discussions of the resolution of the matter without your client having to
27   file an Answer or otherwise respond?” (Id. (emphasis added).) Mr. Arledge agreed
28   to waive service—again, within hours. (Id., at 4-5.) Plaintiff filed the waiver on

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 1   October 25, 2018, making Defendant’s deadline to respond to the Complaint
 2   December 24, 2018.
 3         The parties continued to discuss settlement until well past the response date.
 4   While waiting for Plaintiff to counter Defendant’s most recent proposals, Mr.
 5   Arledge requested a further extension on or before December 24, 2018. (Arledge
 6   Decl. ¶ 13.) Opposing counsel never responded to that request. (Id.) On January 8,
 7   2019, Mr. Eastman finally responded with a letter that did not address any of the
 8   issues the parties had discussed in connection with a potential resolution, and
 9   instead demanded immediate capitulation by Defendant on all issues. (Arledge Decl.
10   Ex. 3.) Mr. Arledge attempted to reach out to Mr. Eastman on January 18 and 24,
11   2019, and left voicemail messages and emails in an attempt to understand Plaintiff’s
12   position. (Arledge Decl. ¶¶ 16-21 & Ex. 4-5.) Mr. Eastman ignored the messages
13   and filed the request for entry of default on January 18, 2019, which was not even
14   served on Defendant.1
15         Upon Defendant’s inquiry as to whether litigation would be necessary (see
16   Arledge Decl. Ex. 4, at 1 (“Let’s talk one more time before committing to
17   litigation.”), and further, whether Plaintiff would stipulate to set aside the default
18   (see Arledge Decl. Ex. 2, at 1-2), Mr. Eastman responded on January 30, 2019, that
19   “absent your client’s unequivocal abandonment of the HELIX mark, then we will
20   rely on the Default, and move forward accordingly.” (Id., at 1.) Shortly thereafter,
21   Defendant filed this Motion.
22   II.   ARGUMENT
23         A trial court has broad discretion and significant procedural flexibility to set
24   aside a clerk’s entry of default. Brady v. United States, 211 F.3d 499, 504 (9th Cir.
25   2000) (“[A] district court’s discretion is especially broad when . . . it is entry of
26
27
     1
      The proof of service purports to have served Defendant’s counsel through ECF,
28
     but the proof is incorrect because Defendant had not yet appeared in the case.
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 1   default that is being set aside rather than default judgment[.]” (internal quotations
 2   omitted)). Rule 55(c) provides that a Court may set aside an entry of default for
 3   “good cause” shown. Fed. R. Civ. P. 55(c). The standard for good cause under Rule
 4   55 is the same as the grounds for relief under Rule 60(b). Franchise Holding II, LLC
 5   v. Huntington Restaurants Grp., Inc., 375 F.3d 922, 926 (9th Cir. 2004). Rule 60(b)
 6   provides that the court may relieve a party from a final judgment upon a showing of,
 7   inter alia, “mistake, inadvertence, surprise, or excusable neglect” or “fraud (whether
 8   previously called intrinsic or extrinsic), misrepresentation, or misconduct by an
 9   opposing party.” Fed. R. Civ. P. 60(b)(1) & (3).
10         In addition, the “good cause” standard considers “(1) whether [defendant]
11   engaged in culpable conduct that led to the default; (2) whether [defendant] had a
12   meritorious defense; or (3) whether reopening the default judgment would prejudice
13   [plaintiff].” Franchise Holding II, 375 F.3d at 926. “[I]t is well established that the
14   good cause required by Fed. R. Civ. P. 55(c) for setting aside entry of default poses
15   a lesser standard for the defaulting party than the excusable neglect which must be
16   shown for relief from judgment under Fed. R. Civ. P. 60(b).” Dennis Garberg &
17   Assocs., Inc. v. Pack-Tech Int’l Corp., 115 F.3d 767, 775 n.6 (10th Cir. 1997). See
18   also E.E.O.C. v. Mike Smith Pontiac GMC, Inc., 896 F.2d 524, 528 (11th Cir. 1990);
19   Shepard Claims Serv., Inc. v. William Darrah & Assocs., 796 F.2d 190, 194 (6th
20   Cir. 1986); Meehan v. Snow, 652 F.2d 274, 276 (2d Cir. 1981).
21         Here, Defendant has good cause for requesting that the Court set aside the
22   entry of default. First, Plaintiff’s counsel engaged in misconduct and had made
23   misleading representations that the parties were engaged in settlement discussions
24   when Plaintiff improperly requested entry of default. Second, even if Plaintiff’s
25   surprise request for an entry of default did not rise to the level of misrepresentation
26   or misconduct, Defendant’s counsel relied on representations by Plaintiff’s counsel
27   that default would not be entered pending the parties’ settlement discussions; this
28   constitutes mistake or excusable neglect. Third, Defendant engaged in no culpable

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 1   conduct, as it participated in good faith settlement discussions with the expectation
 2   that litigation could be avoided, and immediately moved to set aside the default
 3   when Plaintiff made clear that litigation was not to be avoided. Fourth, Defendant
 4   has meritorious defenses, including the defense that Plaintiff does not have
 5   protectable trademark rights. Fifth, Plaintiff is not prejudiced if the default is
 6   replaced with an adjudication on the merits.
 7         A.     Default Was Entered as a Result of Misconduct by Plaintiff’s
 8                Counsel
 9         A default judgment may be set aside on the basis of the opposing counsel’s
10   misconduct or “extrinsic” fraud where the opposing counsel induced a party not to
11   make an appearance in the case. Such inducement includes making false
12   representations regarding settlement.
13         Where the unsuccessful party has been prevented from exhibiting fully
           his case, by fraud or deception practised on him by his opponent, as by
14         keeping him away from court [or] a false promise of a compromise . .
           . these, and similar cases which show that there has never been a real
15         contest in the trial or hearing of the case, are reasons for which a new
           suit may be sustained to set aside and annul the former judgment or
16         decree, and open the case for a new and a fair hearing.
17   United States v. Throckmorton, 98 U.S. 61, 65-66 (1878) (emphasis added).
18         Here, by reason of Plaintiff’s counsel’s false and misleading promises of
19   ongoing settlement discussions, coupled with his sudden non-responsiveness on the
20   eve of Defendant’s deadline to answer, Defendant was deprived of an opportunity to
21   participate in a fair adversarial process. Plaintiff’s counsel initiated settlement
22   discussions with the explicit understanding that Plaintiff would not require
23   Defendant to file an answer or engage in expensive litigation while the discussions
24   were pending: Plaintiff’s counsel offered that waiving service would “allow[] 60
25   days to further discussions of the resolution of the matter without your client
26   having to file an Answer or otherwise respond[.]” (Arledge Decl. Ex. 2, at 5
27   (emphasis added).) When Defendant’s counsel requested a renewal of that same
28   condition at a time when Plaintiff was considering Defendant’s settlement offer, but

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 1   had not yet made a counteroffer, Plaintiff’s counsel neither accepted nor refused the
 2   request. He simply, and inexplicably, ceased to respond. Plaintiff ultimately did not
 3   make its counteroffer—that Defendant capitulate in all respects—until after
 4   Defendant’s deadline to answer the Complaint had passed, and its counsel evaded
 5   all attempts by Defendant’s counsel to understand Plaintiff’s position both with
 6   respect to the substance and procedural status of the case.
 7         In short, Plaintiff’s counsel did everything in his power—whether through an
 8   outright false promise of compromise or a failure to clarify that there would be no
 9   compromise—to induce Defendant not to make an appearance in the case while
10   settlement negotiations were pending. Under the circumstances, the default entered
11   against Defendant was a result of Plaintiff’s counsel’s misconduct or
12   misrepresentation and should be vacated.
13         B.     Default Was Entered as a Result of Mistake or Excusable Neglect
14         In the alternative, even if Plaintiff’s counsel did not engage in conduct that
15   arises to the level of extrinsic fraud, the default should still be set aside because it
16   was entered as a result of mistake or excusable neglect. In Pioneer Investment
17   Services v. Brunswick Associates, the United States Supreme Court stated that, “for
18   purposes of Rule 60(b), ‘excusable neglect’ is understood to encompass situations in
19   which the failure to comply with a filing deadline is attributable to negligence.” 507
20   U.S. 390, 394 (1993) (emphasis added). In Briones v. Riviera Hotel & Casino, 116
21   F.3d 379 (9th Cir. 1997), the Ninth Circuit adopted the same framework for
22   excusable neglect as Pioneer:
23         Because Congress has provided no other guideposts for determining
           what sorts of neglect will be considered “excusable,” we conclude that
24         the determination is at bottom an equitable one, taking account of all
           relevant circumstances surrounding the party’s omission. These include
25         . . . the danger of prejudice to the [party], the length of the delay and its
           potential impact on the judicial proceedings, the reason for the delay,
26         including whether it was within the reasonable control of the movant,
           and whether the movant acted in good faith.
27
     Id. at 381 (quoting Pioneer, 507 U.S. at 395).
28

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 1         Here, the default was caused by Defendant’s failure timely to answer the
 2   Complaint based on a mistaken understanding of the status of parties’ settlement
 3   discussions. Defendant did not try to evade the lawsuit or engage in bad faith tactics,
 4   and on the contrary generally responded to emails from Plaintiff’s counsel within
 5   hours. Unlike Plaintiff, Defendant never caused or invited uncertainty about its
 6   willingness to negotiate a settlement. Defendant committed only one error in not
 7   filing its answer on December 24, 2018, after Plaintiff failed to agree to extend that
 8   deadline. Defendant apologizes to the Court for that error, and submits that its
 9   oversight is the kind of failure to comply with a filing deadline that courts have
10   recognized as excusable neglect.
11         In granting relief from default here, there is no danger of prejudice to
12   Plaintiff; the short passage of time did not create a loss of evidence or increased
13   difficulty in prosecuting their claims against Defendant. The length of Defendant’s
14   delay in bringing this motion is de minimis. Indeed, Defendant filed this motion for
15   relief as soon as possible after learning of the entry of default and Plaintiff’s
16   unwillingness to stipulate to setting aside the default. Any delay that has occurred
17   will have little or no effect on these judicial proceedings.
18         Rather, the danger of prejudice lies in denying relief. If the default is not
19   relieved, Defendant is at risk of having judgment entered against it on allegations
20   that Defendant has not had an opportunity to defend. As set forth in the proposed
21   Answer, attached to the concurrently filed Declaration of Chris Arledge, Defendant
22   has good faith and meritorious legal bases for asserting a complete defense to all
23   claims. (Arledge Decl. Ex. 1.) Plaintiff’s rights in the asserted mark are subject to
24   either no protection or very narrow protection because “Helix” is a geographic term.
25   Moreover, because the parties are in different industries, and Plaintiff’s customer
26   base consists of entities that are large and sophisticated, there is little or no
27   likelihood of confusion.
28

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 1         Taking into account all the relevant circumstances, the default should be set
 2   aside because the failure to file an answer to the Complaint was caused by mistake
 3   or excusable neglect.
 4         C.     An Application of Equitable Principles Weighs in Favor of
 5                Relieving Default
 6         The remaining “good cause” factors under Franchise Holding II are similar to
 7   the equitable factors for determining whether the defaulting party’s neglect was
 8   excusable. For the same reasons discussed above, all the equitable factors weigh in
 9   favor of setting aside the default.
10         First, Defendant engaged in no culpable conduct that led to the default. The
11   failure to comply with the deadline for answer the Complaint was not the result of
12   any dilatory tactics by Defendant, but rather a good faith reliance on Plaintiff’s
13   counsel’s misrepresentations, or at the very least, a misunderstanding regarding the
14   status of settlement negotiations and their effect on the litigation. In fact, to the
15   extent litigation has been delayed since the Complaint was filed in August 2018,
16   most of that delay must be attributable to Plaintiff: Plaintiff itself requested the
17   extension to Defendant’s deadline to file an answer with the express goal that that
18   parties have additional time to discuss alternatives to litigation. What little delay that
19   may have occurred that was not directly authorized by Plaintiff is limited to the one
20   month between December 24, 2018, and January 18, 2019, when Defendant was
21   trying to make contact with Plaintiff’s nonresponsive counsel. Defendant engaged in
22   no culpable conduct.
23         Second, Defendant has meritorious defenses that should be tried to resolve the
24   dispute. “It is well settled that the Federal Rules of Civil Procedure are to be
25   liberally construed to effectuate the general purpose of seeing that cases are tried on
26   the merits and to dispense with technical procedural problems.” Rodgers v. Watt,
27   722 F.2d 456, 459 (9th Cir. 1983) (quoting Staren v. Am. Nat'l Bank & Trust Co. of
28   Chicago, 529 F.2d 1257, 1263 (7th Cir. 1976)). Thus, default judgments are

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 1   disfavored. United States v. Distribuidora Batiz CGH, S.A. De C.V., 2009 WL
 2   2487971, at *4 (S.D. Cal. Aug. 10, 2009) (quoting Eitel v. McCool, 782 F.2d 1470,
 3   1472 (9th Cir. 1986)). Defendant should have an opportunity to participate in a fair
 4   adversarial process and present the defenses set forth in the proposed Answer,
 5   including the defenses that the asserted trademark is invalid and that there is little or
 6   no likelihood of confusion.
 7          Finally, Plaintiff will not be prejudiced if the default is set aside and the case
 8   is litigated on the merits. “It should be obvious why merely being forced to litigate
 9   on the merits cannot be considered prejudicial for purposes of lifting a default
10   judgment.” TCI Grp. Life Ins. Plan v. Knoebber, 244 F.3d 691, 701 (9th Cir. 2001)
11   (overruled on other grounds). Since “vacating the default judgment merely restores
12   the parties to an even footing in the litigation,” id., if Plaintiff has meritorious
13   claims, it should welcome setting aside the default as much as Defendant does.
14          In short, there are no equities weighing against granting relief. Default here
15   does not serve any equitable goal of sanctioning the defendant for bad conduct or
16   making the plaintiff whole for prejudice suffered due to the defendant’s fault.
17   III.   CONCLUSION
18          For the foregoing reasons, Defendant respectfully requests that the Court set
19   aside the Clerk’s entry of default and permit Defendant to file an answer to the
20   Complaint.
21
22   Dated: February 7, 2019                  ONE LLP
23
                                              By: /s/ Christopher W. Arledge
24
                                                  Christopher W. Arledge
25                                                Jenny S. Kim
                                                  Attorneys for Defendant,
26                                                Helix Environmental and Strategic
                                                  Solutions
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  1                            CERTIFICATE OF SERVICE
  2         I certify that on February 7, 2019, the foregoing document was electronically
  3   filed with the Clerk of the Court using the CM/ECF system, which will send
  4   electronic notification of such filing to the CM/ECF participant(s) noted below:
  5
  6   Gary L. Eastman
      EASTMAN & MCCARTNEY, LLP
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  9   Attorneys for Plaintiff,
      Helix Environmental Planning, Inc.
 10
 11
 12
 13                                             /s/ Christopher W. Arledge
                                                Christopher W. Arledge
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